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                            Exhibit 10
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                      HAMC        Charter IP License Schedule                   B    Charter Certificate




                      THIS CERTIFIES  THAT HELLS                       ANGELS
                      IS   A DULY AUTHORIZED AND                       LICENSED CHARTER OF THE HELLS
                      ANGELS MOTORCYCLE CLUB

                      SINCE ADMISSION              DATE

                      WITH ALL THE PRIVILEGES AND OBLIGATIONS DERIVING THERE
                      FROM IN ACCORDANCE WITH THE BYLAWS RULES AND RESOLU
                      TIONS OF HELLS ANGELS MOTORCYLE CORPORATION


                      AS OF     DATE

                      ATTEST

                      SIGNATURE

                      SECRETARY
                      HELLS ANGELS MOTORCYCLE CORPORATION




HAMC   Charter   IP   License   Schedule   B   Charter   Certificate   June   2016                         1   Page   1 of   1
